59 F.3d 167NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    UNITED STATES of America, Plaintiff-Appellee,v.Donovan R. BELL, Defendant-Appellant.
    No. 95-6282.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 18, 1995.Decided:  June 26, 1995.
    
      Donovan R. Bell, appellant pro se.  Lynne Ann Battaglia, U.S. Atty., Harvey Ellis Eisenberg, Asst. U.S. Atty., Baltimore, MD, for appellee.
      Before NIEMEYER and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  United States v. Bell, No. CR-94-69-L;  CA-95-168-L (D. Md. Oct. 24, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.*
    
    AFFIRMED
    
      
        *
         We deny Appellant's motion for appointment of counsel
      
    
    